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Attorney for the Creditor
HERMAN MENEZES, LLC

                        UNITED STATES BANKRUPTCY COURT

                              DISTRICT OF NEVADA

                                        ***

  IN RE:
                                                  Case No. 3:22-bk-50266
  ALVIN A. BRESCIANI,

  Debtor.
                                                  Adv. Case No: 22-05012-nmc
  HERMAN MENEZES, LLC
                                                  Chapter 7
           Plaintiff,                             Hearing Date: Apr 6, 2023

           Vs.                                    Hearing Time: 9:30 AM

  ALVIN BRESCIANI,                                SECOND NOTICE OF
                                                  INTENT TO FILE MOTION
                                                  FOR DEFAULT JUDGMENT
           Defendant.


  _______________________________________/


TO THE COURT AND ALL PARTIES IN INTEREST:

     Plaintiff filed the complaint in this adversary proceeding on August 29, 2022

[ECF#1]. On August 29, 2022, the Court issued a Summons and Notice of



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Scheduling Conference in Adversary Proceeding [ECF# 3]. Plaintiff filed and

served an Amended Complaint on September 2, 2022 [ECF#7]. The summons

and complaint were served on Defendant by Personal Service Mail Service on

September 2, 2021 [See ECF #6].           The time for filing an answer or other

responsive pleading expired on September 28, 2022. No answer or other

responsive pleading has been filed or served by Defendant. On November 4,

2022, the Clerk of the Court entered an Entry of Default against the Defendant

[See ECF #12]. On November 10, 2022, the Plaintiff served the Entry of Default

on the Defendant [See ECF #13].

     On a motion from the Defendant, the Court set aside the default and

ordered the Defendant to file and answer to the amended complaint by Monday,

March 13, 2023 [See ECF #30]. No answer or other responsive pleading by

Defendant has been filed or served.

     On March 17, 2023, the Clerk of the Court entered an Entry of Default

against the Defendant [See ECF #33].

     PLAINTIFF HEREBY PROVIDES NOTICE: in accordance with Fed. R. Civ. P.

55(b)(2); Fed. R. Bankr. P. 7055. that it will file for default judgment against the

Defendant on or after March 29, 2023.

                      DATED this Mar 20, 2023

                                    By: /s/ Luke Busby, Esq.________
                                      LUKE A. BUSBY, ESQ.
                                      Nevada Bar No. 10319
                                      316 California Ave.
                                      Reno, Nevada 89509
                                      775-453-0112
                                      luke@lukeandrewbusbyltd.com

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                             CERTIFICATE OF SERVICE

      I certify that on the date shown below, I caused service to be completed of a

true and correct copy of the foregoing SECOND NOTICE OF INTENT TO FILE

MOTION FOR DEFAULT JUDGMENT by:

______ personally delivering;

______ delivery via Reno/Carson Messenger Service;

______ sending via Federal Express (or other overnight delivery service);

___x__ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto;
     or,

       delivery via electronic means (fax, eflex, NEF, etc.) to:


     Alvin Bresciani
     6086 White Water Way
     Reno, NV 89523




     By: /s/ Luke Busby, Esq.___________              Mar 20, 2023
     LUKE A. BUSBY, ESQ.
     SBN 10319
     316 California Ave.
     Reno, NV 89509
     775-453-0112
     luke@lukeandrewbusbyltd.com
     Attorney for the Plaintiff




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